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 6

 7                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                         Case No. 2:22-mj-726-BNW00000-XXX
 9
                    Plaintiff,                         Stipulation to Extend Deadlines to
10                                                     Conduct Preliminary Hearing and
            v.                                         File Indictment
11                                                     (Second Request)
     SHAVONTE HILL,
12
                    Defendant.
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            IT IS HEREBY STIPULATED AND AGREED, by and between Jason M.
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     Frierson, United States Attorney, and Kimberly M. Frayn, Assistant United States
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     Attorney, counsel for the United States of America, and Andrew Leavitt, Esq., counsel for
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     Defendant Shavonte Hill, that the Court vacate the Preliminary Hearing schedule for
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     December 9, 2022, and continue it for forty-five (45) days. This request requires that the
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     Court extend two deadlines: (1) that a preliminary hearing be conducted within 14 days of a
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     detained defendant’s initial appearance, see Fed. R. Crim. P. 5.1(c); and (2) that an
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     information or indictment be filed within 30 days of a defendant’s arrest, see 18 U.S.C.
22
     § 3161(b).
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            This stipulation is entered into for the following reasons:
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1            1.       Andrew Leavitt was recently retained as counsel in this case. Defendant and

2    Mr. Leavitt, Esq. need additional time to review the discovery, conduct any necessary

3    follow up investigation, and engage in pretrial motion practice, if warranted, before the

4    Preliminary Hearing.

5            2.       Under Federal Rule of Criminal Procedure 5.1(c), the Court “must hold the

6    preliminary hearing within a reasonable time, but no later than 14 days after the initial

7    appearance if the defendant is in custody . . . .”

8            3.       However, under Rule 5.1(d), “[w]ith the defendant’s consent and upon a

9    showing of good cause—taking into account the public interest in the prompt disposition of

10   criminal cases—a magistrate judge may extend the time limits in Rule 5.1(c) one or more

11   times . . . .”

12           4.       Furthermore, under the Speedy Trial Act, 18 U.S.C. § 3161(b), “[a]ny

13   information or indictment charging an individual with the commission of an offense shall be

14   filed within thirty days from the date on which such individual was arrested or served with a

15   summons in connection with such charges.”

16           5.       Additionally, Defendant needs additional time to investigate potential

17   defenses to make an informed decision as to how to proceed.

18           6.       Accordingly, the parties jointly request that the Court schedule the

19   preliminary hearing in this case no sooner than 45 days from the current hearing date,

20   December 9, 2022.

21           7.       Defendant is in custody and agrees to the extension of the 14-day deadline

22   imposed by Rule 5.1(c) and waives any right to remedies under Rule 5.1(c) or 18 U.S.C.

23   § 3161(b), provided that the information or indictment is filed on or before the date ordered

24   pursuant to this stipulation.


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1           8.      The parties agree to the extension of that deadline.

2           9.      Accordingly, the additional time requested by this stipulation is allowed

3    under Federal Rule of Criminal Procedure 5.1(d).

4           10.     In addition, the parties stipulate and agree that the time between today and

5    the scheduled preliminary hearing is excludable in computing the time within which the

6    defendant must be indicted, and the trial herein must commence pursuant to the Speedy

7    Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), considering the factors under 18 U.S.C.

8    § 3161(h)(7)(B)(i) and (iv).

9           11.     This is the second request for an extension of the deadlines by which to

10   conduct the preliminary hearing and to file an indictment.

11          DATED this 2nd day of December, 2022.

12                                               Respectfully submitted,

13                                               JASON M. FRIERSON
                                                 United States Attorney
14
      /s/Andrew Leavitt, Esq.                    /s/Kimberly M. Frayn
15    ANDREW LEAVITT, ESQ.                       KIMBERLY M. FRAYN
      Counsel for Defendant HILL                 Assistant United States Attorney
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1                      UNITED STATES DISTRICT COURT
2                           DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                         Case No. 2:22-mj-726-BNW00000

4                   Plaintiff,                         [Proposed] Order on Stipulation to
                                                       Extend Deadlines to Conduct
5           v.                                         Preliminary Hearing and
                                                       File Indictment
6    SHAVONTE HILL,

7
                    Defendant.
8

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            Based on the stipulation of counsel, good cause appearing, and the best interest of
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     justice being served; the time requested by this stipulation being excludable in computing
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     the time within which the defendant must be indicted and the trial herein must commence
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     pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of
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     Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):
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            IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled
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     for December 9, 2022 be vacated and continued to ___________ at the at
                                                      January 25, 2023
                                                                  2022   hour  of p.m.
                                                                            2:30  _______.
                                                                                       in Courtroom 3B.
16
            DATED this 2nd         December 2022.
                       ___ day of __________,
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18                                                 UNITED STATES MAGISTRATE JUDGE
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